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                    UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF IOWA

IN RE:                                    )
                                          ) Chapter 13
DAISY M. RISNER,                          )
                                          ) Bankruptcy No. 18-00148
          Debtor.                         )

      PLAN CONFIRMATION PROCEEDING MEMO AND ORDER

APPEARANCES:

Debtor: Wil Forker
Case Trustee: Carol F. Dunbar

Hearing was held: June 5, 2018
The Chapter 13 Plan was filed: April 10, 2018

IT IS ORDERED THAT:

The 341 Meeting of Creditors will be reset for June 25, 2018 by the Trustee since
Debtor has failed to appear for either the Meeting of Creditors that have previously
been held. If Debtor fails to appear at the next scheduled Meeting of Creditors,
this case will be dismissed.

Dated and Entered:
June 5, 2018



                                       THAD J. COLLINS
                                       CHIEF BANKRUPTCY JUDGE
